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UNITED STATES DISTRICT COURT
BRITTANY CLYBOURN, SOUTHERN DISTRICT OF NEW YORK
Index No. 18-cv-3688

Plaintiff,
Civil Action
-vs.-
SPIDERBANDS LLC and FRANCI CERTIFICATION OF DEFENDANT
COHEN, FRANCI COHEN IN SUPPORT OF
DEFENDANTS’ MOTION TO
DISMISS
Defendants.

 

 

I, FRANCI COHEN., being of full age, do hereby certify as follows:

l. I am the principal CEO and owner of Spiderbands LLC, another Defendant in the
above-captioned matter.

2. I have personal knowledge of the facts contained in this Certification, the basis of
which is the file maintained by this office.

3. Plaintiff Brittany Clybourn executed an employment contract With Spiderbands
LLC on September 12, 2017. Attached hereto as Exhibit A is a true, complete, and correct copy
of the executed Employment Contract and respective schedules.

4. As per Schedule A of the Employment Contract, Plaintiff Brittany Clybourn was
contracted to teach 96 classes from November l, 2017 to February 25, 2018.

5. Plaintiff taught 86 classes of the reguired 96 classes and did not teach the classes

required and assigned to her on February 6, 2018 onward.

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6. Plaintit`f Brittany Clybourn Was scheduled to teach Junipstrike, a kickboxing
class, a class she previously taught, on February l, 2018.

7. Plaintiff failed to incorporate kickboxing aspects in this class and as a result,
Spiderbands received various customer complaints after the class had ended.

8. l attempted to give Plaintiff recommendations Which Would improve the
kickboxing classes and after this discussion, Plaintiff failed to show up for work.

9. Since Plaintiff failed to Show up for Work after this discussion, Plaintift’ s
employment Was therefore terminated.

10. Plaintiff also failed to complete additional employment duties as laid out in
Exhibit A.

ll. Attached hereto as Exhibit B is a true and accurate copy of a February 2, 2018 e-
mail received from Brittany Clybourn, Which made various unfounded allegations

The foregoing statements made by me are true and correct to the best of my knowledge l

am aware that if any of the foregoing statements by me are Willfully false, l am subject to

FRANCI COHEN

 

punishment

Sworn to and subscribed before me on
May 17 2018.

Shirell Davis

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Notary Public

